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shall be extended to February 22, 2021 to permit Hikma additional time to consider the allegations

in the Complaint and the responses thereto.

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, subject

 to the approval of the Court, that Defendants Hikma Pharmaceuticals USA Inc. and Hikma

 Pharmaceuticals PLC time to answer, move or otherwise response to the Complaint shall be

 extended to February 22, 2021.

  FISH & RICHARDSON P.C.                          HEYMAN ENERIO
                                                  GATTUSO & HIRZEL LLP

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Dated: December 8, 2020



S O O R D E R E D this _______ day of December, 2020.



                                               UNITED STATES DISTRICT JUDGE
